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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

GWEN CATTONI,                                   §
                                                §
               Plaintiff,                       §
                                                §
        v.                                      §    No. 5:15-cv-259
                                                §
COMENITY LLC                                    §
d/b/a COMENITY BANK,                            §
                                                §
               Defendant.                       §

                                 PLAINTIFF’S COMPLAINT

        GWEN CATTONI (Plaintiff), through her attorneys, KROHN & MOSS, LTD., alleges

the following against COMENITY LLC d/b/a COMENITY BANK (Defendant):

                                       INTRODUCTION
        1.     Plaintiff’s Complaint is based on Telephone Consumer Protection Act, 28 U.S.C. §

227 et seq. (TCPA).

                                JURISDICTION AND VENUE
        2.     Jurisdiction of this Court over Plaintiff’s Complaint arises pursuant to 28 U.S.C. §

1331.

        3.     Because Defendant conducts business in the State of Texas, personal jurisdiction is

established.

        4.     Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                           PARTIES
        5.     Plaintiff is a natural person who resides in San Antonio, Texas.

        6.     Plaintiff is informed, believes, and thereon alleges, that Defendant is a national

company with a business office in Columbus, Ohio.

        7.     Defendant acted through its agents, employees, officers, members, directors, heirs,
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successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS
       8.      In or around November 2014, Defendant began constantly and consistently placing

telephone calls to plaintiff in an attempt to collect a debt an alleged debt owed on a Peeble’s charge

account.

       9.      Defendant places telephone calls to Plaintiff on Plaintiff’s cellular telephone at 814-

340-29XX.

       10.     Defendant places telephone calls from numbers including, but not limited to, 614-

754-4057, 720-456-3684, 913-312-3217, 913-563-5511, 913-563-5512, and 913-312-3217.

       11.     Based upon the timing and frequency of Plaintiff’s calls and per its prior business

practices, each collection call placed by Defendant to Plaintiff was placed using an automatic

telephone dialing system.

       12.     In or around November of 2014, Plaintiff called Defendant and spoke to Defendant’s

representative on at least two (2) occasions.

       13.     During the course of the telephone conversations in or around November 2014,

Plaintiff informed Defendant’s representatives that she had recently relocated, told Defendant’s that

Defendant’s calls were excessive and harassing, and requested that Defendant cease placing calls to

her cellular telephone.

       14.     Plaintiff revoked any consent, either explicitly or implicitly, to receive automated

telephone calls from Defendant on his cellular telephone in or around November, 2014.

       15.     Despite Plaintiff’s request to cease, Defendant placed at least one hundred and nine

(109) collection calls to Plaintiff in an approximated three-week period between January 12, 2015

and February 3, 2015.




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                               COUNT I
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

       16.     Defendant’s actions alleged supra constitute numerous negligent violations of the

               TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and

               every violation pursuant to 47 U.S.C. § 227(b)(3)(B).

       17.     Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

               willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

               damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

               U.S.C. § 227(b)(3)(C).

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the Defendant

for the following:

       18.     Statutory damages of $500.00 for each and every negligent violation of the TCPA

               pursuant to 47 U.S.C. § (b)(3)(B);

       19.     Statutory damages of $1500.00 for each and every knowing and/or willful violation

               of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

       20.     All court costs, witness fees and other fees incurred; and

       21.     Any other relief that this Honorable Court deems appropriate.




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Dated: April 8, 2015                RESPECTFULLY SUBMITTED,

                                    KROHN & MOSS, LTD.



                              By: /s/ Ryan Lee

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